 Case 18-50378         Doc 494       Filed 09/10/19 Entered 09/10/19 16:11:34                 Desc Main
                                     Document      Page 1 of 17



                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


 In re:                                                                                     Chapter 7
                                                                                  BKY 18-50378 (WJF)
 ERP Iron Ore, LLC,

                                Debtor.


      AMENDED ORDER AUTHORIZING SALE OF CERTAIN OF THE DEBTOR’S
         PROPERTY FREE AND CLEAR OF LIENS, ENCUMBRANCES AND
                          OTHER INTERESTS


          This matter came before the court on the motion of Nauni Jo Manty, the chapter 7 trustee

of the bankruptcy estate of ERP Iron Ore, LLC, for an order authorizing her to sell certain of the

debtor’s assets free and clear of liens, encumbrances and other interests. Based upon all of the

files, records and proceedings herein,

          THE COURT MAKES THE FOLLOWING FINDINGS OF FACT:

          The Court makes the following findings of fact based upon all the evidence, the

credibility of witnesses, the files, records, and proceedings. To the extent any findings of fact are

conclusions of law, they are adopted as such. To the extent any conclusions of law are findings

of fact, they are adopted as such.

          1.     As stated on the record, the relief granted is in the best interest of the estate, all

creditors and other interested parties in this case.

          2.     As stated on the record, the sale of the property to Prairie River Minerals is a

good- faith transaction within the meaning of 11 U.S.C. § 363(m), and Prairie River Minerals

is found not to be a continuation of, or a successor to, debtor or any entity owned by debtor.


                                                                          NOTICE OF ELECTRONIC ENTRY AND
                                                                          FILING ORDER OR JUDGMENT
                                                                          Filed and Docket Entry made on09/10/2019
                                                                          Lori Vosejpka, Clerk, by WM
 Case 18-50378       Doc 494      Filed 09/10/19 Entered 09/10/19 16:11:34            Desc Main
                                  Document      Page 2 of 17


       3       Adequate and sufficient notice to all creditors and interested parties to this case

of the proposed entry of the order appears to have been given in accordance with Fed. R. Bankr.

P. 2002.


       IT IS HEREBY ORDERED:

       1.      The motion for sale of certain of the debtor’s property free and clear of liens,

encumbrances and other interests is granted. To the extent any objections to the motion were not

withdrawn, they are overruled.

       2.      The trustee is authorized to sell the following property (the “Real Property”) of

the debtor free and clear of any and all liens, encumbrances and other interests to Prairie River

Minerals, LLC for $1,950,000.00:

The real property identified on the debtor's schedules as Plant 1 in Keewatin and the Jessie Load

Out (together Plant 1 and the Jessie Load Out are the "Real Property"). Plant 1 is more

specifically described as, but is not necessarily limited to, the following parcels of real property

located in Itasca County, Minnesota, and legally described as follows:

TRACT NO. 1
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE SE ¼ OF THE SW ¼ , SECTION 35, TOWNSHIP 57 N, RANGE 22 W
OF THE 4TH PRINCIPAL MERIDIAN, ACCORDING TO THE UNITED STATES
GOVERNMENT SURVEY THEREOF DESCRIBED AS FOLLOWS:
THAT PART OF SAID SECTION 35, DESCRIBED AS FOLLOWS:
COMMENCING AT THE SW CORNER OF THE SE ¼ OF THE SW ¼ OF SAID SECTION
35; N 89º02’53” E, ASSIGNED BEARING ALONG THE SOUTH LINE OF SAID SE ¼ OF
SW ¼, A DISTANCE OF 64.30 FEET TO THE EASTERLY RIGHT-OF-WAY LINE OF THE
BURLINGTON NORTHERN RAILROAD AND THE POINT OF BEGINNING OF THE
TRACT TO BE HEREIN DESCRIBED; THENCE CONTINUE N 89º02’53” E ALONG SAID
SOUTH LINE, 202.31 FEET; THENCE N 38º54’13” E 1950.00 FEET; THENCE S 51º05’47”
E 194.69 FEET; THENCE N 38º54’13” E 2798.69 FEET; THENCE S 39º57’40” E 310.54
FEET TO THE EAST LINE OF THE SAID SE ¼ OF NE ¼ OF SAID SECTION 35; THENCE
N 01º51’34” E ALONG SAID EAST LINE 735.97 FEET TO THE NORTHEAST CORNER OF
SAID SE ¼ OF NE ¼; THENCE S 85º11’38” W ALONG THE NORTH LINE OF SAID SE ¼
OF NE ¼, 292.34 FEET TO SAID EASTERLY RIGHT-OF-WAY LINE OF THE


                                                 2
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 3 of 17


BURLINGTON NORTHERN RAILROAD; THENCE S 38º54’13” W ALONG SAID
EASTERLY RIGHT-OF-WAY LINE, 5203.80 FEET TO THE POINT OF BEGINNING.
EXCEPT
THAT PART LOCATED IN THE SW ¼ OF THE NE ¼ OF SECTION 35, TOWNSHIP 57,
RANGE 22.
TORRENS PROPERTY
CURRENT CERTIFICATE NO. 24870
PIN #95-035-3401

TRACT NO. 2
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE NE ¼ OF THE SW ¼, SECTION 35, TOWNSHIP 57 N, RANGE 22, W OF THE 4TH
PRINCIPAL MERIDIAN, ACCORDING TO THE UNITED STATES GOVERNMENT
SURVEY THEREOF, DESCRIBED AS FOLLOWS:
THAT PART OF SECTION 35, TOWNSHIP 57 N, RANGE 22, DESCRIBED AS :
COMMENCING AT THE SOUTHWEST CORNER OF THE SE ¼ OF THE SW ¼ OF SAID
SECTION 35; THENCE N 89º02’53” E, ASSIGNED BEARING ALONG THE SOUTH LINE
OF SAID SE ¼ OF SW ¼, A DISTANCE OF 64.30 FEET TO THE EASTERLY RIGHT-OF-
WAY LINE OF THE BURLINGTON NORTHERN RAILROAD AND THE POINT OF
BEGINNING OF THE TRACT TO BE HEREIN DESCRIBED; THENCE CONTINUE N
89º02’53” E ALONG SAID SOUTH LINE, 202.31 FEET; THENCE N 38º54’13” E 1,950.00
FEET; THENCE S 51º05’47” E 194.69 FEET; THENCE N 38º54’13” E 2,798.69 FEET;
THENCE S 39º57’40” E 310.54 FEET TO THE EAST LINE OF THE SAID SE ¼ OF NE ¼
OF SAID SECTION 35; THENCE N 01º51’34” E ALONG SAID EAST LINE 735.97 FEET
TO THE NORTHEAST CORNER OF SAID SE ¼ OF NE ¼; THENCE S 85º11’38’ W
ALONG THE NORTH LINE OF SAID SE ¼ OF NE ¼, 292.34 FEET TO SAID EASTERLY
RIGHT-OF-WAY LINE OF THE BURLINGTON NORTHERN RAILROAD; THENCE S
38º54’13” W ALONG SAID EASTERLY RIGHT-OF WAY LINE, 5,203.80 FEET TO THE
POINT OF BEGINNING;
EXCEPT
THAT PART LOCATED WITHIN THE SW ¼ OF THE NE ¼ OF SECTION 35, TOWNSHIP
57, RANGE 22.
TORRENS PROPERTY
CURRENT CERTIFICATE NO. 24876
PIN #92-025-3101

TRACT NOS. 3 AND 4
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE NE ¼ OF THE SE ¼, AND THE NW ¼ OF THE SE ¼, ALL IN SECTION 35,
TOWNSHIP 57 N, RANGE 22, W OF THE 4TH PRINCIPAL MERIDIAN, ACCORDING TO
THE UNITED STATES GOVERNMENT SURVEY THEREOF DESCRIBED AS FOLLOWS:
THAT PART OF SAID SECTION 35, DESCRIBED AS FOLLOWS:
COMMENCING AT THE SOUTHWEST CORNER OF THE SE ¼ OF THE SW ¼ OF SAID
SECTION 35; THENCE N 89º02’53” E, ASSIGNED BEARING ALONG THE SOUTH LINE



                                       3
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 4 of 17


OF SAID SE ¼ OF SW ¼, A DISTANCE OF 64.30 FEET TO THE EASTERLY RIGHT-OF-
WAY LINE OF THE BURLINGTON NORTHERN RAILROAD AND THE POINT OF
BEGINNING OF THE TRACT TO BE HEREIN DESCRIBED; THENCE CONTINUE N
89º02’53” E ALONG SAID SOUTH LINE, 202.31 FEET; THENCE N 38º54’13” E 1,950.00
FEET; THENCE S 51º05’47” E 194.69 FEET; THENCE N 38º54’13” E 2,798.69 FEET;
THENCE S 39º57’40” E 310.54 FEET TO THE EAST LINE OF THE SAID SE ¼ OF THE NE
¼ OF SAID SECTION 35; THENCE N 01º51’34” E ALONG SAID EAST LINE 735.97 FEET
TO THE NORTHEAST CORNER OF SAID SE ¼ OF NE ¼; THENCE S 85º11’38” W
ALONG THE NORTH LINE OF SAID SE ¼ OF NE ¼, 292.34 FEET TO SAID EASTERLY
RIGHT-OF-WAY LINE OF THE BURLINGTON NORTHERN RAILROAD; THENCE S
38º54’13” W ALONG SAID EASTERLY RIGHT-OF-WAY LINE, 5,203.80 FEET TO THE
POINT OF BEGINNING.
EXCEPT
THAT PART LOCATED WITHIN THE SW ¼ OF NE ¼, SECTION 35, TOWNSHIP 57,
RANGE 22.
THE ABOVE LEGAL DESCRIPTION INCLUDES THE FOLLOWING PARCEL ID’S:
95-035-4101 & 95-035-4203
TORRENS PROPERTY
CURRENT CERTIFICATE NO. 24877

TRACT NO. 5
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE SE ¼ OF THE NE ¼, SECTION 35, TOWNSHIP 57 N, RANGE 22, W OF THE 4TH
PRINCIPAL MERIDIAN, ACCORDING TO THE UNITED STATES GOVERNMENT
SURVEY THEREOF, DESCRIBED AS FOLLOWS:
THAT PART OF SAID SECTION 35, TOWNSHIP 57 N, RANGE 22, DESCRIBED AS:
COMMENCING AT THE SOUTHWEST CORNER OF THE SE ¼ OF SW ¼ OF SAID
SECTION 35; THENCE N 89º02’53” E, ASSIGNED BEARING ALONG THE SOUTH LINE
OF SAID SE ¼ OF SW ¼, A DISTANCE OF 64.30 FEET TO THE EASTERLY RIGHT-OF-
WAY LINE OF THE BURLINGTON NORTHERN RAILROAD AND THE POINT OF
BEGINNING OF THE TRACT TO BE HEREIN DESCRIBED; THENCE CONTINUE N
89º02’53” E ALONG SAID SOUTH LINE, 202.31 FEET; THENCE N 38º54’13” E 1,950.00
FEET; THENCE S 51º05’47” E 194.69 FEET; THENCE N 38º54’13” E 2,798.69 FEET;
THENCE S 39º57’40” E 310.54 FEET TO THE EAST LINE OF THE SAID SE ¼ OF NE ¼
OF SAID SECTION 35; THENCE N 01º51’34” E ALONG SAID EAST LINE 735.97 FEET
TO THE NORTHEAST CORNER OF SAID SE ¼ OF NE ¼; THENCE S 85º11’38” W
ALONG THE NORTH LINE OF SAID SE ¼ OF NE ¼, 292.34 FEET TO SAID EASTERLY
RIGHT-OF-WAY LINE OF THE BURLINGTON NORTHERN RAILROAD; THENCE S
38º54’13” W ALONG SAID EASTERLY RIGHT-OF-WAY LINE, 5,203.80 FEET TO THE
POINT OF BEGINNING.
EXCEPT
THAT PART LOCATED WITHIN THE SW ¼ OF NE ¼ , SECTION 35, TOWNSHIP 57,
RANGE 22.
TORRENS PROPERTY
CURRENT CERTIFICATE NO. 24871



                                       4
 Case 18-50378    Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                            Document      Page 5 of 17


PIN NO. 95-035-1401

TRACT NOS. 6, 7, 8 AND 9
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE NW ¼, SECTION 36, TOWNSHIP 57 N, RANGE 22 W, DESCRIBED
AS FOLLOWS:
BEGINNING AT THE NORTH ¼ CORNER OF SAID SECTION 36 AND ASSUMING THE
NORTH LINE OF THE NW ¼ OF SAID SECTION 36 TO BEAR N 88º13’51” W; THENCE N
88º13’51” W ALONG SAID NORTH LINE 1886.17 FEET TO THE EAST RIGHT OF WAY
LINE OF THE BURLINGTON NORTHERN RAILROAD; THENCE S 41º05’22” W ALONG
SAID RIGHT OF WAY LINE 1241.62 FEET TO THE WEST LINE OF SAID SECTION 36;
THENCE S 4º4’15” W ALONG THE WEST LINE OF SAID SECTION 36, A DISTANCE OF
725.75 FEET; THENCE S 88º02’10” E 1,424.63 FEET TO A POINT ON THE WEST LINE OF
THE SE ¼ OF THE NW ¼ OF SAID SECTION 36; THENCE S 67º48’00” E 1,200.95 FEET;
THENCE N 17º23’37” E 2,183.44 FEET TO THE NORTH LINE OF SAID SECTION 36;
THENCE N 87º18’35” W ALONG SAID NORTH LINE 436.07 FEET TO THE POINT OF
BEGINNING, EXCEPT MINERALS AND MINERAL RIGHTS.
THE ABOVE LEGAL DESCRIPTION INCLUDES THE FOLLOWING PARCEL ID’S:
92-036-2301, 92-036-2401,92-036-2202 & 92-036-2101
ABSTRACT PROPERTY

TRACT NO. 10
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE SW ¼ OF THE SW ¼, SECTION 25, TOWNSHIP 57 N, RANGE 22, W
OF THE 4TH PRINCIPAL MERIDIAN, WHICH LIES WITHIN THE FOLLOWING
DESCRIPTION:
“BEGINNING AT THE S ¼ CORNER OF SAID SECTION 25, AND ASSUMING THE S
LINE OF SAID SW ¼ TO BEAR N 88º13’51” W; THENCE N 88º13’51” W ALONG SAID
SOUTH LINE 1886.17 FEET TO THE EAST RIGHT-OF-WAY OF THE BURLINGTON
NORTHERN RAILROAD; THENCE N 41º05’22” E ALONG SAID RIGHT-OF-WAY 2863.22
FEET TO THE EAST LINE OF SAID SW ¼; THENCE S 00º05’23” E ALONG THE EAST
LINE OF SAID SW ¼ 2216.20 FEET TO THE POINT OF BEGINNING, CONTAINING 47.96
ACRES MORE OR LESS” ACCORDING TO THE UNITED STATES GOVERNMENT
SURVEY THEREOF.
TORRENS PROPERTY
CURRENT CERTIFICATE NO. 24879
PIN #92-025-3304

TRACT NOS. 11 AND 12
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE NE ¼ OF THE SW ¼ AND THAT PART OF THE SE ¼ OF THE SW
¼, SECTION 25, TOWNSHIP 57 N, RANGE 22 W, DESCRIBED AS FOLLOWS:
BEGINNING AT THE S ¼ CORNER OF SAID SECTION 25 AND ASSUMING THE SOUTH



                                        5
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 6 of 17


LINE OF SAID SW ¼ TO BEAR N 88º13’51” W; THENCE N 88º13’51” W ALONG SAID
SOUTH LINE 1886.17 FEET TO THE EAST RIGHT OF WAY OF THE BURLINGTON
NORTHERN RAILROAD; THENCE N 41º05’22” E ALONG SAID RIGHT OF WAY 2863.22
FEET TO THE EAST LINE OF SAID SW ¼; THENCE S 00º05’23” E ALONG THE EAST
LINE OF SAID SW ¼ 2216.20 FEET TO THE POINT OF BEGINNING, EXCEPT
MINERALS AND MINERAL RIGHTS.
THE ABOVE LEGAL DESCRIPTION INCLUDES THE FOLLOWING PARCEL ID’S: 92-

025-3401 & 92-025-3101
ABSTRACT PROPERTY

TRACT NO. 13
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE N ½ OF THE NW ¼ OF SE ¼, SECTION 25, TOWNSHIP 57, RANGE
22 W, INCLUDED IN THE FOLLOWING LEGAL DESCRIPTION:
THAT PORTION OF THE NW ¼ OF THE SE ¼, SECTION 25, TOWNSHIP 57 N, RANGE
22 W OF THE 4TH PRINCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:
ASSUME THE WEST PROPERTY LINE OF SAID NW ¼ OF THE SE ¼ TO HAVE A
BEARING OF S 0º23’25” E, STARTING AT THE CENTER ¼ CORNER OF SECTION 25,
TOWNSHIP 57, RANGE 22; THENCE ON A BEARING S 0º23’25” E ON AND ALONG
THE SAID WEST PROPERTY LINE A DISTANCE OF 278.00 FEET TO THE POINT OF
BEGINNING; THENCE ON A BEARING S 0º23’25” E, ON AND ALONG THE SAID WEST
PROPERTY LINE A DISTANCE OF 962.75 FEET; THENCE ON A BEARING S 89º11’39” E
ALONG THE SOUTH PROPERTY LINE OF THE SAID NW ¼ OF THE SE ¼ A DISTANCE
OF 181.53 FEET; THENCE ON A BEARING N 0º23’25” W A DISTANCE OF 533.42 FEET;
THENCE DUE EAST A DISTANCE OF 50 FEET; THENCE DUE NORTH A DISTANCE OF
400 FEET; THENCE DUE WEST A DISTANCE OF 52.73 FEET; THENCE ON A BEARING
N 40º14’52” W A DISTANCE OF 163.01 FEET; THENCE ON A BEARING S 39º31’47” W A
DISTANCE OF 120 FEET MORE OR LESS TO THE POINT OF BEGINNING.
ABSTRACT PROPERTY
PIN #92-025-4203

TRACT NO. 14
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE SW ¼ OF THE NW ¼, SECTION 12, TOWNSHIP 55, RANGE 25,
LYING NORTH AND WEST OF HIGHWAY NO. 169
LESS
THE W 337.0 FEET OF THE S 323.0 FEET OF THE SW ¼ OF NW ¼; AND
LESS
THAT PART OF THE SW ¼ OF NW ¼ LYING NORTHERLY OF THE S 323.00 FEET
THEREOF AND LYING SOUTHWESTERLY OF THE FOLLOWING DESCRIBED LINE:
COMMENCING AT THE SOUTHWEST CORNER OF SAID SW ¼ OF NW ¼; THENCE N
01º09’30” E, ASSIGNED BEARING, ALONG THE WEST LINE OF SAID SW ¼ OF NW ¼
A DISTANCE OF 639.98 FEET TO THE POINT OF BEGINNING OF THE LINE TO BE
HEREIN DESCRIBED; THENCE S 45º54’40” E 460.27 FEET TO THE NORTHEAST


                                       6
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 7 of 17


CORNER OF THE S 323.00 FEET OF THE W 337.00 FEET OF SAID SW ¼ OF NW ¼ AND
SAID DESCRIBED LINE THERE TERMINATING.
ABSTRACT PROPERTY
PIN #88-012-2303

TRACT NO. 15
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THAT PART OF THE SE ¼ OF NE ¼, SECTION 11, TOWNSHIP 55, RANGE 25 W,
DESCRIBED AS FOLLOWS: COMMENCING AT THE SOUTHEAST CORNER OF SAID
SE ¼ OF THE NE ¼; THENCE N 01º09’30” E ASSUMED BEARING ALONG THE EAST
LINE OF SAID SE ¼ OF NE ¼ 639.98 FEET TO THE POINT OF BEGINNING OF THE
TRACT TO BE HEREIN DESCRIBED; THENCE N 88º50’30” W 440.00 FEET TO THE
NORTHERLY RIGHT OF WAY LINE OF JESSIE MINE ROAD; THENCE S 45º53’36” E
ALONG SAID NORTHERLY RIGHT OF WAY LINE 295.71 FEET; THENCE S 40º10’09” E
CONTINUING ALONG SAID NORTHERLY RIGHT OF WAY LINE 126.53 FEET;
THENCE S 41º58’52” E CONTINUING ALONG SAID NORTHERLY RIGHT OF WAY
LINE 204.75 FEET TO THE EAST LINE OF SAID SE ¼ OF NE ¼; THENCE S 1º09’30” W
ALONG SAID EAST LINE 134.07 FEET TO THE SOUTHERLY RIGHT OF WAY LINE OF
SAID JESSIE MINE ROAD; THENCE N 14º37’20” W ALONG SAID SOUTHERLY RIGHT
OF WAY LINE 35.09 FEET; THENCE N 29º08’53” W CONTINUING ALONG SAID
SOUTHERLY RIGHT OF WAY LINE 59.54 FEET; THENCE N 44º11’35” W CONTINUING
ALONG SAID SOUTHERLY RIGHT OF WAY LINE 50.21 FEET; THENCE N 39º38’39” W
CONTINUING ALONG SAID SOUTHERLY RIGHT OF WAY LINE 272.71 FEET; THENCE
N 47º09’51” W CONTINUING ALONG SAID SOUTHERLY RIGHT OF WAY LINE 231.54
FEET; THENCE S 6º37’30” E 317.62 FEET; THENCE S 42º38’23” E143.94 FEET; THENCE
ON A BEARING OF S 128.55 FEET TO THE SOUTH LINE OF SAID SE ¼ OF NE ¼;
THENCE WESTERLY ALONG SAID SOUTH LINE TO THE SOUTHWEST CORNER OF
SAID SE ¼ OF NE ¼; THENCE NORTHERLY ALONG THE WEST LINE OF SAID SE ¼
OF NE ¼ TO THE NORTHWEST CORNER OF SAID SE ¼ OF NE ¼; THENCE EASTERLY
ALONG THE NORTH LINE OF SAID SE ¼ OF NE ¼ TO THE NORTHEAST CORNER OF
SAID SE ¼ OF NE ¼; THENCE SOUTHERLY ALONG THE EAST LINE OF SAID SE ¼ OF
NE ¼ TO THE POINT OF BEGINNING.
ABSTRACT PROPERTY
PIN #88-011-1401

TRACT NO. 16
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE SW ¼ OF SE ¼, LESS GREAT NORTHERN RIGHT-OF-WAY, SECTION 2,
TOWNSHIP 55, RANGE 25.
ABSTRACT PROPERTY
PIN #88-002-4301

TRACT NO. 17
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF



                                       7
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 8 of 17


ITASCA AND STATE OF MINNESOTA, TO-WIT:
GOVERNMENT LOT 6, SECTION 2, TOWNSHIP 55, RANGE 25
ABSTRACT PROPERTY
PIN #88-002-3400

TRACT NO. 18
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
GOVERNMENT LOT 5, OR THE NW ¼ OF THE SW ¼, SECTION 2, TOWNSHIP 55,
RANGE 25
LESS
THAT PART DESCRIBED AS FOLLOWS: GOVERNMENT LOT 5 LYING SOUTH OF A
LINE BEGINNING AT A POINT ON THE EAST LINE 750 FEET DUE SOUTH OF THE
NORTHEAST CORNER; THENCE S 45º W TO THE SHORE OF PRAIRIE RIVER AND
THERE TERMINATE.
ABSTRACT PROPERTY
PIN #88-002-3201

TRACT NO. 19
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE NW ¼ OF SE ¼, LESS GREAT NORTHERN RIGHT-OF-WAY, SECTION 2,
TOWNSHIP 55, RANGE 25
ABSTRACT PROPERTY
PIN #88-002-4200

TRACT NO. 20
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE NE ¼ OF SW ¼, SECTION 2, TOWNSHIP 55, RANGE 25
ABSTRACT PROPERTY
PIN #88-002-3100

TRACT NOS. 21, 22, 23, 24, 28, 29 AND 30
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE SE ¼ OF THE NE ¼, SECTION 35, TOWNSHIP 56 N, RANGE 25 W OF THE 4TH
PRINCIPAL MERIDIAN, SUBJECT TO EXCEPTIONS OF RECORD, ACCORDING TO
THE UNITED STATES GOVERNMENT SURVEY THEREOF.
LESS THAT PART DESCRIBED AS: FROM THE SE 1/16TH CORNER OF THE SW ¼ OF
THE NE ¼, OF SAID SECTION 35, GOING NORTHERLY ALONG THE PROPERTY LINE
WITH A BEARING OF N 00º54’18” E A DISTANCE OF 205.00 FEET TO POINT “A” THE
POINT OF BEGINNING; THENCE SOUTHEASTERLY WITH A BEARING OF S 80º30’00”
E A DISTANCE OF 775.00 FEET TO POINT “B”; THENCE DUE S A DISTANCE OF 169.62
FEET TO POINT “C”; THENCE SOUTHWESTERLY WITH A BEARING OF S 45º00’00 W
A DISTANCE OF 424.27 FEET TO POINT “D”; THENCE SOUTHWESTERLY WITH A



                                       8
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 9 of 17


BEARING OF S 27º00’00” W A DISTANCE OF 200.00 FEET TO POINT “E”; THENCE
SOUTHWESTERLY WITH A BEARING OF S 70º45’00” W A DISTANCE OF 372.24 FEET
TO POINT “F”; THENCE SOUTHWESTERLY WITH A BEARING OF S 82º58’00” W A
DISTANCE OF 809.20 FEET TO POINT “G”; THENCE DUE W A DISTANCE OF 1521.89
FEET TO POINT “H”; THENCE NORTHWESTERLY WITH A BEARING OF N 46º00’00”
W A DISTANCE OF 317.27 FEET TO POINT “I”; THENCE DUE N A DISTANCE OF 324.83
FEET TO POINT “J”; ON THE WEST PROPERTY LINE OF THE NE ¼ OF THE SW ¼ OF
SAID SECTION 35; THENCE NORTHEASTERLY ALONG PROPERTY LINE WITH A
BEARING OF N 03º01’00” E A DISTANCE OF 257.68 FEET TO THE NW 1/16TH CORNER
OF THE NE ¼ OF THE SW ¼, SAID SECTION 35; THENCE NORTHWESTERLY ALONG
PROPERTY LINE WITH A BEARING OF N 00º12’37” W A DISTANCE OF 57.00 FEET TO
POINT “K”; THENCE NORTHEASTERLY WITH A BEARING OF N 74º25’00” E A
DISTANCE OF 664.29 FEET TO POINT “L”; THENCE SOUTHEASTERLY WITH A
BEARING OF S 88º45’57” E A DISTANCE OF 1878.30 FEET TO POINT “A” THE POINT
OF BEGINNING.
AND
TORRENS NO. 279:
LOTS 2, 3, 4, THE SW ¼ OF THE NE ¼ AND THE S ½ OF THE NW ¼ , SECTION 2,
TOWNSHIP 55 N, RANGE 25, W OF THE 5TH PRINCIPAL MERIDIAN, ACCORDING TO
THE UNITED STATES GOVERNMENT SURVEY THEREOF.
SUBJECT TO THE RIGHTS AND EASEMENTS CONVEYED BY THE VERMILLION
RANGE LAND COMPANY, A WISCONSIN CORPORATION, TO THE GREAT
NORTHERN RAILWAY COMPANY, A MINNESOTA CORPORATION, BY THAT
CERTAIN RIGHT OF WAY DEED, WHICH IS DATED 4/12/1909 AND FILED FOR
RECORD 4/26/1909, IN THE OFFICE OF THE REGISTER OF DEEDS OF SAID ITASCA
COUNTY, MINNESOTA, AND RECORDED THEREIN IN BOOK 50 OF DEEDS PAGE 14
THEREOF; WHICH SAID DEED CONVEYS A STRIP OF LAND 100 FEET WIDE BEING
50 FEET WIDE ON EACH SIDE OF THE CENTER LINE OF THE RAILWAY OF SAID
RAILWAY COMPANY AS THE SAME WAS ON THE DATE OF DELIVERY OF SAID
DEED, LOCATED AND ESTABLISHED AND NOW IS CONSTRUCTED OVER AND
ACROSS FROM THE NORTH TO THE SOUTH SIDE OF LOT 2, AND ALSO FROM THE
NORTH TO THE SOUTH SIDE OF THE SW ¼ OF THE NE ¼ OF SECTION 2, TOWNSHIP
55 N, RANGE 25, W OF THE 4TH PRINCIPAL MERIDIAN, ACCORDING TO THE
UNITED STATES GOVERNMENT SURVEY THEREOF, CONTAINING 6.10 ACRES,
MORE OR LESS; THE RIGHT TITLE OF SAID GREAT NORTHERN RAILWAY
COMPANY BEING SUBJECT, HOWEVER TO THE RESERVATIONS AND EXCEPTIONS
IN SAID DEED CONTAINED, BY WHICH RESERVATIONS AND EXCEPTIONS THERE
IS RESERVED IN SAID VERMILLION RANGE LAND COMPANY, ALL TIMBER, IRON
ORE AND OTHER MINERALS, UPON, IN OR UNDER SAID RIGHT-OF-WAY,
TOGETHER WITH THE RIGHT TO EXPLORE FOR, MINE AND REMOVE THE SAME IN
THE USUAL MANNER; AND ALSO TO THE CONDITIONS AND AGREEMENTS IN
SAID DEED AND SAID RECORD THEREOF CONTAINED, PROVIDING FOR THE
SHIFTING OF SAID RIGHT OF WAY IN CASE SAID VERMILLION RANGE LAND
COMPANY, OR ITS ASSIGNS SHALL DISCOVER A BED OR VEIN OF IRON ORE OR
OTHER MINERAL UNDERLYING SAID RIGHT OF WAY AND SHALL WISH TO MINE
AND REMOVE THE SAME AND SHALL COMPLY WITH THE CONDITIONS



                                       9
 Case 18-50378   Doc 494   Filed 09/10/19 Entered 09/10/19 16:11:34   Desc Main
                           Document      Page 10 of 17


PRECEDENT THERETO AS IN SAID DEED AND THE RECORD THEREOF SET FORTH;
AND SAID LOTS 2, 3, 4 , THE S ½ OF THE NW ¼ AND THE SW ¼ OF THE NE ¼,
SECTION 2, TOWNSHIP 55 N, RANGE 25 W OF THE 4TH PRINCIPAL MERIDIAN, ARE
SUBJECT, ALSO TO A CERTAIN INDENTURE OF LEASE BEARING DATE 3/22/1913,
MADE BY SAID VERMILLION RANGE LAND COMPANY, LESSOR TO INTER-STATE
IRON COMPANY, A MINNESOTA CORPORATION, LESSEE WHICH LEASE WAS
RECORDED IN THE OFFICE OF THE REGISTER OF DEEDS OF SAID ITASCA COUNTY,
1/9/1914 AND RECORDED IN BOOK 32 OF MISCELLANEOUS RECORDS ON PAGE 295;
RECORD REFERENCE TO THE ABOVE DESCRIBED INSTRUMENTS IS HEREBY
MADE FOR GREATER CERTAINTY.
AND

TORRENS NO. 535:
THE SE ¼ OF THE NE ¼, SECTION 2, TOWNSHIP 55 N, RANGE 25, W OF THE 4TH
PRINCIPAL MERIDIAN, ACCORDING TO THE UNITED STATES GOVERNMENT
SURVEY THEREOF.
THE ABOVE LEGAL DESCRIPTION INCLUDES THE FOLLOWING PARCEL ID’S:
88-002-1200, 88-002-1300, 88-002-1401, 88-002-2100, 88-002-2201, 88-002-2300 AND
88-002-2400.
TORRENS PROPERTY
CURRENT CERTIFICATE NOS. 24884 and 24885

TRACT NO. 25
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE SW ¼ OF NW ¼, SECTION 1, TOWNSHIP 55, RANGE 25
ABSTRACT PROPERTY
PIN #88-001-2301

TRACT NO. 26
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
GOVERNMENT LOT 4, SECTION 1, TOWNSHIP 55, RANGE 25
ABSTRACT PROPERTY
PIN #88-001-2200

TRACT NO. 27
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
GOVERNMENT LOT 1, SECTION 2, TOWNSHIP 55, RANGE 25
ABSTRACT PROPERTY
PIN #88-002-1100

TRACT NO. 31
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:



                                      10
 Case 18-50378       Doc 494     Filed 09/10/19 Entered 09/10/19 16:11:34               Desc Main
                                 Document      Page 11 of 17


THE SE ¼ OF SE ¼, SECTION 34, TOWNSHIP 56, RANGE 25 LESS THE W ½ AND LESS
PORTION LYING NORTH OF OLD COUNTY ROAD 61.
ABSTRACT PROPERTY
PIN #02-034-4401

TRACT NO. 32
THE FOLLOWING DESCRIBED REAL ESTATE, SITUATED IN THE COUNTY OF
ITASCA AND STATE OF MINNESOTA, TO-WIT:
THE NE ¼ OF THE SE ¼, SECTION 35, TOWNSHIP 56 N, RANGE 25 W, ITASCA
COUNTY, MINNESOTA, EXCEPT THAT PORTION THEREOF DESCRIBED AS
FOLLOWS:
FROM THE SE 1/16TH CORNER OF THE SW ¼ OF THE NE ¼, SECTION 35, TOWNSHIP
56, RANGE 25, GOING NORTHERLY ALONG THE PROPERTY LINE WITH A BEARING
OF N 00º54’18” E A DISTANCE OF 205.00 FEET TO POINT “A” THE POINT OF
BEGINNING; THENCE SOUTHEASTERLY WITH A BEARING OF S 80º30’00” E A
DISTANCE OF 775.00 FEET TO POINT “B”; THENCE DUE SOUTH A DISTANCE OF
169.62 FEET TO POINT “C”; THENCE SOUTHWESTERLY WITH A BEARING OF S
45º00’00” W A DISTANCE OF 424.27 FEET TO POINT “D”; THENCE SOUTHWESTERLY
WITH A BEARING OF S 27º00’00” W A DISTANCE OF 200.00 FEET TO POINT “E”;
THENCE SOUTHWESTERLY WITH A BEARING OF S 70º45’00” W A DISTANCE OF
372.24 FEET TO POINT “F”; THENCE SOUTHWESTERLY WITH A BEARING OF S
82º58’00” W A DISTANCE OF 809.20 FEET TO POINT “G”; THENCE DUE WEST A
DISTANCE OF 1521.89 FEET TO POINT “H”; THENCE NORTHWESTERLY WITH A
BEARING OF N 46º00’00” W A DISTANCE OF 312.27 FEET TO POINT “I”; THENCE DUE
NORTH A DISTANCE OF 324.83 FEET TO POINT “J”; ON THE WEST PROPERTY LINE
OF THE NE ¼ OF THE SW ¼, SECTION 35, TOWNSHIP 56, RANGE 25; THENCE
NORTHEASTERLY ALONG PROPERTY LINE WITH A BEARING OF N 03º01’00” E A
DISTANCE OF 257.68 FEET TO THE NW 1/16TH CORNER OF THE NE ¼ OF THE SW ¼,
SECTION 35, TOWNSHIP 56, RANGE 25; THENCE NORTHWESTERLY ALONG
PROPERTY LINE WITH A BEARING OF N 00º12’37” W A DISTANCE OF 57.00 FEET TO
POINT “K”; THENCE NORTHEASTERLY WITH A BEARING OF N 74º25’00” E A
DISTANCE OF 664.29 FEET TO POINT “L”; THENCE SOUTHEASTERLY WITH A
BEARING OF S 88º45’57” E A DISTANCE OF 1878.30 FEET TO POINT “A” THE POINT
OF BEGINNING.
ABSTRACT PROPERTY
PIN #02-035-4101

         3.     The Real Property includes all of the trustee's right, title, and interest in all of the

buildings, fixtures, improvements, leases, maps, reports, plans, and other such material having to

do with the Real Property, including all land use entitlements, governmental permits and

allocations, and other such governmental and agency approvals as may exist concerning the Real

Property. The Real Property also includes all personal property of every kind which are or were



                                                 11
 Case 18-50378       Doc 494     Filed 09/10/19 Entered 09/10/19 16:11:34             Desc Main
                                 Document      Page 12 of 17


used in connection with the ownership, mining, use, or occupancy of the Real Property or that

are now or hereafter located on, attached to, incorporated in (regardless of where located), or

affixed to the Real Property.

       4.      To the extent that the legal description associated with Parcel 92-036-2301

includes Parcel 92-036-1200, the legal description is amended so as not include Parcel

92-036-1200. For the sake of clarity, Parcel 92-036-1200 is excluded from the sale.

       5.      In addition, and upon the closing, PRM shall grant a purchase option for the Jessie

Load Out to the trustee as owner of Plants 2 and 4 upon the sale of the chapter 7 case.

Specifically, PRM will convey, at the option of the owner of either Plant 2 and Plant 4, all of

PRM's rights, title, and interest in parcels 88-002-4200 and 88-002-4301 of Jessie Load Out not

sooner than January 1, 2021, and with such option expiring not later than January 1, 2023, for a

price of $500,000.00. PRM shall retain an easement on the Jessie Load Out for PRM's

reasonable and necessary use of parcels 88-002-4200 and 88-002-4301 to ship and store product

produced at Plant 1, with such use not to unreasonably interfere with the fee titleholder's interest

in Jessie Load Out, and with PRM bearing its reasonable costs associated with such use.

Similarly, the owner of Plant 2 and Plant 4 will be granted an easement on parcels 88-012-2303

and 88-011-1401 to ensure access to parcels 88-002-4200 and 88-002-4301.

       6.      The owner of Plant 4 shall be granted at its request, a non-exclusive, perpetual

easement at no charge to use the existing road on parcels 88-001-2200, 88-001-2301,

88-002-1401, 88-002-1300 and 88-002-4200 for access between Plant 4 and Jessie Load

Out. The easement may require that the owner of Plant 4 pay a pro rata share of the cost of

maintaining that road based on road usage associated with Plant 4 compared to total road usage.

The owners




                                                12
 Case 18-50378        Doc 494     Filed 09/10/19 Entered 09/10/19 16:11:34            Desc Main
                                  Document      Page 13 of 17


of Plant 1, Plant 4 and Jessie Load Out shall reasonably negotiate regarding usage of Jessie Load

Out on an equitable basis for the benefit of Plant 1 and Plant 4.

       7.      Prairie River Minerals is authorized, but is not obligated, in its sole discretion, to

request that the trustee assume and assign, subject to bankruptcy court approval, any and all

contracts, easements, licenses, and leases, including any and all rights to mine minerals, that are

held by the estate, in any way related or appurtenant to the Real Property (collectively, the

"Assigned Contracts").

       8.      All liens, encumbrances or other interests on the property sold, including without

limitation any liens, encumbrances or other interests held by Wilmington Savings Fund Society,

FSB, as Indenture Trustee, Merida National Resources, LLC, Progress Rail Leasing Corporation,

and Lighthouse Management Group, Inc., as administrative agent for certain mechanic’s and/or

miner’s lien claimants, shall attach to the proceeds of the sale of the property with the same

dignity, priority and extent as held against the property prior to the sale and such proceeds shall

be held by the trustee in a segregated account pending further order of the court. Notwithstanding

anything set forth in the trustee’s sale motion or herein, any issues as to the characterization of

the Property as real or personal property and as to priority of the secured creditors that assert

liens in and to such Property can be determined at a later time and all of the secured creditors’

rights as to such issues are hereby fully reserved, including any rights of offset or other claims

and defenses that may be asserted by the trustee. The trustee’s rights, if any, to surcharge are

preserved.

       9.      The trustee is authorized to use the sale proceeds to pay all expenses of the sale

within thirty days of closing.

        10.     The fourteen-day stay as provided by Fed. R. Bankr. P. 6004(h) is waived.




                                                 13
 Case 18-50378       Doc 494      Filed 09/10/19 Entered 09/10/19 16:11:34             Desc Main
                                  Document      Page 14 of 17


       11.     The debtor’s property is being sold “as is, where is” without any representations

and warranties.

       12.     The trustee and her representatives are authorized to take such other actions and

execute and deliver such additional documents or instruments as will be reasonably necessary to

effectuate the transactions contemplated in the trustee's motion.

       13.     The trustee is authorized to sell the real property upon all the terms set forth in the

trustee’s motion, this order, and any agreement entered into by the parties.

       14.     Nothing in this order discharges, releases, enjoins or otherwise bars or limits: (A)

any liability to the State of Minnesota of the debtor, its estate, or the successors, transferees, or

assigns of the debtor or its estates if such liability arises on or after the effective date; (B)

any liability to the State of Minnesota that is not a “claim” within the meaning of 11 U.S.C. §

101(5); (C) any right of setoff or recoupment against the debtor (and all such setoff and

recoupment rights are preserved and not waived whether or not asserted in a timely-filed proof of

claim); (D) any police or regulatory action of the State; (E) any environmental liability to

the State of Minnesota that the debtors, its estates, or the successors, transferees, or assigns of

the debtor’s or its estates may have as an owner or operator of a mine property, or otherwise; or

(F) any liability to the State of Minnesota that the debtor, its estates, or the successors,

transferees, or assigns of the debtor or its estates may have as a holder of a permit to mine,

water appropriation permit, dam permit, or state disposal system (SDS) permit; provided,

however, that, notwithstanding the foregoing, nothing in this paragraph shall limit, diminish or

otherwise alter any party’s defenses, claims, causes of action or other rights under applicable non-

bankruptcy or bankruptcy law with respect to any liability that may exist to the State of

Minnesota.




                                                 14
 Case 18-50378       Doc 494     Filed 09/10/19 Entered 09/10/19 16:11:34            Desc Main
                                 Document      Page 15 of 17


       15.     Endurance Assurance Corporation and Continental Heritage Insurance Co.,

(collectively, “Sureties” and, each individually, “Surety”) have issued commercial surety bonds

on behalf of the debtor with respect to assets and other contractual obligations to be transferred

from the chapter 7 trustee to PRM (collectively, the “Existing Surety Bonds” and, each

individually, an “Existing Surety Bond”).

       16.     To the extent that any of the Existing Surety Bonds relate to the debtor’s assets to

be transferred, which include, without limitation, the Real Property subject to reclamation claims

from the State of Minnesota, mining permits, surface leases and mine related facilities, and other

contractual obligations, such Existing Surety Bonds shall be replaced, in part, by PRM

(collectively, the “Replacement Surety Bonds” and, each individually, a “Replacement Surety

Bond”), subject to the following conditions:


              i.      The necessity of any Replacement Surety Bond on the Real Property, and

                      the penal sum of those replacement bonds as financial assurance, is subject

                      to determination by the Minnesota Department of Natural Resources

                      according to Minnesota law and applicable federal law. Applications for

                      the transfer of any permits, if any, from the Trustee to PRM, as required

                      by applicable law, will be made no later than thirty (30) days after closing.

                      A Replacement Surety Bond, in an amount required by the Minnesota

                      Department of Natural Resources, shall be timely submitted as required as

                      part of any applicable permit transfer and bonding regulations. In no event

                      shall this provision be construed to require that PRM obtain or provide

                      financial assurances related to any real property other than the Real

                      Property that is the subject of this order.



                                                15
 Case 18-50378       Doc 494      Filed 09/10/19 Entered 09/10/19 16:11:34            Desc Main
                                  Document      Page 16 of 17



               ii.     The debtor entered into certain indemnity agreements or related

                       agreements with the Sureties (collectively, the “Existing Indemnity

                       Agreements” and, each, an “Existing Indemnity Agreement”). Upon the

                       transfer or acquisition of a permit, as described in Paragraph 16(i) above,

                       and upon the request of any of the Sureties, PR agrees to execute a new

                       indemnity agreement, either with the Sureties or with some other

                       replacement surety or sureties, in a form satisfactory to the applicable

                       Surety in its discretion, which shall be exercised in a reasonably

                       commercial manner, for any Replacement Surety Bond, but in no event

                       shall either Surety require a form of indemnity agreement that is in any

                       way materially different from the Existing Indemnity Agreement, which

                       was attached as Exhibit C to Claim 12-1 at 49–55.

       17.     The discharge or release of any claim contained in any purchase agreement or in

this order shall not release, discharge, preclude, or enjoin any obligation of the debtor (prior to

the closing date) to the Sureties under the Existing Surety Bonds, Existing Indemnity

Agreements, and obligations under the common law of suretyship and, solely to the extent that

such Existing Surety Bonds are not replaced by the Replacement Surety Bonds, such obligations

to the Sureties are not being released, discharged, precluded or enjoined by any purchase

agreement, this order or agreements with third parties.

       18.     Notwithstanding any other provision of the purchase agreement or this order all,

collateral, on which the applicable Surety had a perfected lien as of the closing date, other than

any assets contained in the purchase agreement and letters of credit and proceeds from drawn

letters of credit issued to the Sureties as security for the debtor’s obligations under the Existing



                                                16
 Case 18-50378        Doc 494    Filed 09/10/19 Entered 09/10/19 16:11:34           Desc Main
                                 Document      Page 17 of 17


Surety Bonds (collectively, the “Surety Collateral”) shall remain in place to secure all payment

and performance obligations of (a) the debtor under the Existing Surety Bonds or for obligations

arising under the Existing Indemnity Agreements until replaced or released in the bonds entirety

and (b) thereafter PRM under the Replacement Surety Bonds, any new indemnity agreements, or

new collateral trust agreements and accounts related thereto; provided, however, that nothing in

the purchase agreement or this order shall be deemed to limit such Surety’s right to utilize any

Surety Collateral.

       19.     Notwithstanding any other provisions of the purchase agreement or other

agreements between the debtor/trustee and third parties, nothing in the release provisions of the

purchase agreement or this order shall be deemed to apply to the Sureties’ claims to pursue the

Surety Collateral, nor shall these provisions be interpreted to bar, impair, prevent or otherwise

limit the Sureties from exercising their valid rights under or with respect to any of the Existing

Surety Bonds (until fully replaced), Replacement Surety Bonds, any related indemnity

agreements, letters of credit, or applicable law, including the common law of suretyship. Nothing

in the purchase agreement or this order shall be interpreted to alter, diminish, or enlarge the

rights or obligations of the Sureties in regard to state and federal agencies, third parties, or

otherwise under any surety bonds, any indemnity agreements or applicable law. Further, nothing

contained in the purchase agreement shall constitute or be deemed a waiver of any cause of

action that in any way relates to the Existing Surety Bonds held by the debtor or the Trustee

against any entity.


                                                  /e/ William J. Fisher
Dated: September 10, 2019                   ____________________________________
                                            William J. Fisher
                                            United States Bankruptcy Judge




                                               17
